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                                  18286



                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                Charlottesville Division


 ELIZABETH SINES, SETH WISPELWEY,
 MARISSA BLAIR, APRIL MUÑIZ, MARCUS
 MARTIN, NATALIE ROMERO, CHELSEA
 ALVARADO, JOHN DOE, and THOMAS
 BAKER,
                                     Plaintiffs,           Civil Action No. 3:17-cv-00072-NKM
                           v.

 JASON KESSLER, et al.,
                                     Defendants.



                       PLAINTIFFS’ OBJECTIONS TO DEFENDANTS’
                              RULE 26(a)(3) DISCLOSURES

        In accordance with the Court’s July 15, 2021 Scheduling Order and pursuant to Fed. R.

 Civ. P. Rule 26(a)(3)(A), Plaintiffs set forth the following objections to the proposed exhibits

 identified by defendants, and without waiver to Plaintiffs’ Motions in Limine filed in this matter.

 Plaintiffs reserve the right to add further objections based on additional information (including, for

 example, the testimony of witnesses presented by Defendants at trial), such as objections on the

 basis of relevance, lack of an adequate foundation, hearsay, or other bases set forth in the Federal

 Rules of Evidence.
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     I.          OBJECTIONS TO DEFENDANT CANTWELL’S EXHIBIT LIST

     No. 1  0F               DESCRIPTION                              BATES OR                   OBJECTION 2       1F




                                                                       DOCKET
                                                                      NUMBER
     1            Exhibit121-GorcenskiLS1.mp4                     Dkt No. 614                 402; 403; 802; 805;
                                                                                              901
     2            Exhibit122-GorcenskiLS2.mp4                     Dkt No. 614                 402
     3            Exhibit123-GorcenskiLS3.mp4                     Dkt No. 614                 602; 802; 805; 901
     4            Exhibit124-GorcenskiLS4.mp4                     Dkt No. 614                 602; 802; 805; 901
     13           IDidNotDraw.mp4                                 N/A                         402; 802; 805
     21           Exhibit8-CPDMisdemeanor.mp3                     Dkt No. 614                 402; 403; 802; 805;
                                                                                              901
     24           Exhibit11-MikeLongoCPReport                     Dkt No. 614                 402; 403; 404; 602;
                                                                                              802
     25           Exhibit12-Heaphy.pdf                            Dkt No. 614                 402; 403; 701; 802;
                                                                                              805; 901
     26           Exhibit13-                                      Dkt No. 614                 402; 403; 802; 805;
                  GorcenskiDangerousAntifa.pdf                                                901
     27           Exhibit14-                                      Dkt No. 614                 402; 403; 802; 901
                  Unnamedandpseudonymous.pdf
     28           Exhibit15-CantwellPrelim.pdf                    Dkt No. 614                 402; 403; 802;      805;
                                                                                              901
     32           Exhibit19-FightNarrated.mp4                     Dkt No. 614                 402; 403; 602;      802;
                                                                                              805; 901
     33           Exhibit20-GorcenskiRelease.pdf                  Dkt No. 614                 402; 403; 901
     35           Exhibit22-Cantwell-v-Gorcenski-                 Dkt No. 614                 402; 403; 802;      805;
                  Complaint.docx                                                              901
     36           Exhibit23-DixonConfession.mp4                   Dkt No. 614                 402; 403; 802;      805;
                                                                                              901
     37           Exhibit24-UTR-Updates-Blogpost.pdf              Dkt No. 614                 802; 805
     38           Exhibit25-DHS-                                  Dkt No. 614                 402; 403; 802;      805;
                  LawfullyOrganized.pdf                                                       901
     39           Exhibit26-SueANazi.pdf                          Dkt No. 614                 402; 403; 802;      805;
                                                                                              901
     40           Exhibit27-BreakTheBack.pdf                      Dkt No. 614                 402; 403; 802;      805;
                                                                                              901
     41           Exhibit28-CapitalOfAntifa.mp4                   Dkt No. 614                 402; 403; 802;      805;
                                                                                              901
     42           Exhibit29-ClarityOfRupture.pdf                  Dkt No. 614                 402; 403; 802;      805;
                                                                                              901

 1
          Defendant Cantwell’s exhibit list was not numbered. For clarity, Plaintiffs have assigned numbers to Cantwell’s
          exhibits in the order the exhibits appear on Cantwell’s list.
 2
          Objections refer to the Federal Rules of Evidence unless otherwise indicated.
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  43    Exhibit30-ViolenceAgainstPolice.pdf    Dkt No. 614   402; 403; 802; 805;
                                                             901
  44    Exhibit31-IGDTorchMarch.pdf            Dkt No. 614   402; 403; 802; 805;
                                                             901
  46    Exhibit33-AntifaSpray.mp4              Dkt No. 614   402; 802; 805; 901
  47    Exhibit34-KesslerACLU-Win.pdf          Dkt No. 614   402; 403; 802; 805;
                                                             901
  48    Exhibit35-Glamour.pdf                  Dkt No. 614   402; 403; 802; 805;
                                                             901
  49    Exhibit36-BikeLock.pdf                 Dkt No. 614   402; 403; 802; 805;
                                                             901
  50    Exhibit37-DiversityOfTactics.pdf       Dkt No. 614   402; 403; 802; 805;
                                                             901
  51    Exhibit38-BlackBloc.pdf                Dkt No. 614   402; 403; 802; 805;
                                                             901
  52    Exhibit39-Diversity.pdf                Dkt No. 614   402; 403; 802; 805;
                                                             901
  53    Exhibit40-AttacksBeforeA12.pdf         Dkt No. 614   402; 403; 802; 805;
                                                             901
  54    Exhibit41-BirdDogging.pdf              Dkt No. 614   402; 403; 802; 805;
                                                             901
  55    Exhibit42-SolidarityGJR.pdf            Dkt No. 614   402; 403; 802; 805;
                                                             901
  56    Exhibit43-SolidarityMeansSilence.pdf   Dkt No. 614   402; 403; 602; 802;
                                                             805; 901
  57    Exhibit44-LeftistLawyer.pdf            Dkt No. 614   402; 403; 802; 805;
                                                             901
  58    Exhibit45-GorcenskiDoxing.pdf          Dkt No. 614   402; 403; 802; 805;
                                                             901
  59    Exhibit46-VFArrest2.pdf                Dkt No. 614   402; 403; 802; 805;
                                                             901
  60    Exhibit47-23ArrestedJ8.pdf             Dkt No. 614   402; 403; 802; 805;
                                                             901
  61    Exhibit48-J8Stream1.mp4                Dkt No. 614   402; 403; 802; 805;
                                                             901
  62    Exhibit49-J8Stream2.mp4                Dkt No. 614   402; 403; 802; 805;
                                                             901
  63    Exhibit50-Pleasants.pdf                Dkt No. 614   402; 403; 802; 805;
                                                             901
  64    Exhibit51-WhoAreTheAntifa.pdf          Dkt No. 614   402; 403; 802; 805;
                                                             901
  65    Exhibit52-SethsBatallions.pdf          Dkt No. 614   402; 403; 802; 805;
                                                             901
  66    Exhibit53-CBS19J8.pdf                  Dkt No. 614   802; 805; 901
  67    Exhibit54-RevGor.pdf                   Dkt No. 614   402; 403; 901
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  68    Exhibit55-IGD-GJResist1.pdf           Dkt No. 614   402; 403;   802; 805;
                                                            901
  69    Exhibit56-IGD-GJResist2.pdf           Dkt No. 614   402; 403;   802; 805;
                                                            901
  71    Exhibit56-URGangForces.pdf            Dkt No. 614   402; 403;   802; 805;
                                                            901
  72    Exhibit57-PittsburghTrumpAttack.pdf   Dkt No. 614   402; 403;   802; 805;
                                                            901
  73    Exhibit58-IGDAtlanta.pdf              Dkt No. 614   402; 403;   802; 805;
                                                            901
  74    Exhibit59-IGDMayDay.pdf               Dkt No. 614   402; 403;   802; 805;
                                                            901
  75    Exhibit60-IGDAgainstCiv.pdf           Dkt No. 614   402; 403;   802; 805;
                                                            901
  76    Exhibit61-IGDPrisonRebels.pdf         Dkt No. 614   402; 403;   802; 805;
                                                            901
  77    Exhibit62-IGDThrowingRocks.pdf        Dkt No. 614   402; 403;   802; 805;
                                                            901
  78    Exhibit63-IGDGloriousRiot.pdf         Dkt No. 614   402; 403;   802; 805;
                                                            901
  79    Exhibit64-IGDJoinResistance.pdf       Dkt No. 614   402; 403;   802; 805;
                                                            901
  80    Exhibit65-IGDAnarchistsDestroy.pdf    Dkt No. 614   402; 403;   802; 805;
                                                            901
  81    Exhibit66-IGDProblemofPeace.pdf       Dkt No. 614   402; 403;   802; 805;
                                                            901
  82    Exhibit67-IGDWarOnStreets.pdf         Dkt No. 614   402; 403;   802; 805;
                                                            901
  83    Exhibit68-IGDWarOnStreetsFull.pdf     Dkt No. 614   402; 403;   802; 805;
                                                            901
  84    Exhibit69-IGDDefenseofBloc.pdf        Dkt No. 614   402; 403;   802; 805;
                                                            901
  85    Exhibit70-IGDWisdomOfRioters.pdf      Dkt No. 614   402; 403;   802; 805;
                                                            901
  86    Exhibit71-DrivenOutOfCVille.pdf       Dkt No. 614   402; 403;   802; 805;
                                                            901
  87    Exhibit72-IGDSixMonths.pdf            Dkt No. 614   402; 403;   802; 805;
                                                            901
  88    Exhibit73-MasseySprayA12.mp4          Dkt No. 614   901
  90    Exhibit73-PhillyCrewA12b.mp4          Dkt No. 614   402; 403
  91    Exhibit74-PhillyCrewA12c.mp4          Dkt No. 614   402; 403;   802; 805;
                                                            901
  92    Exhibit75-PhillyCrewA12d.mp4          Dkt No. 614   402; 403;   802; 805;
                                                            901
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  93    Exhibit76-MasseyWaPo.pdf            Dkt No. 614   402; 403; 802; 805;
                                                          901
  94    Exhibit77-NJKeenan2011.pdf          Dkt No. 614   402; 403; 802; 805;
                                                          901
  96    Exhibit79-LovePark.pdf              Dkt No. 614   402; 403; 802; 805;
                                                          901
  97    Exhibit80-LovePark2.pdf             Dkt No. 614   402; 403; 802; 805;
                                                          901
  98    Exhibit81-EthnicIntimidation1.pdf   Dkt No. 614   402; 403; 802; 805;
                                                          901
  99    Exhibit82-EthnicIntimidation2.pdf   Dkt No. 614   402; 403; 802; 805;
                                                          901
  100   Exhibit83-EthnicIntimidation3.pdf   Dkt No. 614   402; 403; 802; 805;
                                                          901
  101   Exhibit84-EthnicIntimidation4.pdf   Dkt No. 614   402; 403; 802; 805;
                                                          901
  102   Exhibit85-A12Clash1.mp4             Dkt No. 614   805
  103   Exhibit86-LuckyToHaveAShield.mp4    Dkt No. 614   805
  105   Exhibit88-Infowars1.mp4             Dkt No. 614   802; 805; 901
  106   Exhibit89-Infowars2.mp4             Dkt No. 614   802; 805; 901
  109   Exhibit92-FBIBatonReceipt.png       Dkt No. 614   402; 403; 802; 805;
                                                          901
  110   Exhibit93-MoersJuly.mp4             Dkt No. 614   402; 403; 805; 901
  112   Exhibit95-PinDown.pdf               Dkt No. 614   402; 403; 802; 805;
                                                          901
  113   Exhibit96-MintonMurder1a.pdf        Dkt No. 614   402; 403; 802; 805;
                                                          901
  114   Exhibit97-MintonMurder1b.pdf        Dkt No. 614   402; 403; 802; 805;
                                                          901
  115   Exhibit98-MintonMurder2.pdf         Dkt No. 614   402; 403; 802; 805;
                                                          901
  116   Exhibit99-GorcenskiHeadCount.mp4    Dkt No. 614   802; 805; 901
  118   Exhibit101-                         Dkt No. 614   402; 403; 602; 802;
        GorcenskiOnCivilRights.mp4                        805; 901
  119   Exhibit102-SURJGFM.pdf              Dkt No. 614   402; 403; 802; 805;
                                                          901
  120   Exhibit103-BondFund.pdf             Dkt No. 614   402; 403; 802; 805;
                                                          901
  121   Exhibit104-UVAWNPoll.pdf            Dkt No. 614   402; 403; 802; 805;
                                                          901
  122   Exhibit105-                         Dkt No. 614   402; 403; 802; 805;
        UVAReutersExtremePoll.pdf                         901
  123   Exhibit106-ABCNaziPoll.pdf          Dkt No. 614   402; 403; 802; 805;
                                                          901
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  124        Exhibit107-RassAntifa17.pdf            Dkt No. 614    402; 403; 802; 805;
                                                                   901
  125        Exhibit108-RassAntifa18.pdf            Dkt No. 614    402; 403; 802; 805;
                                                                   901
  126        Exhibit109-RassAntifa19.pdf            Dkt No. 614    402; 403; 802; 805;
                                                                   901
  127        Exhibit110-HHBLMPoll17.pdf             Dkt No. 614    402; 403; 802; 805;
                                                                   901
  128        Exhibit111-RAMeetupMember.pdf          Dkt No. 614    402; 403; 802; 805
  129        Exhibit113-RAMeetupEmail.pdf           Dkt No. 614    802; 805; 901
  130        Exhibit114-                            Dkt No. 614    802; 805; 901
             RAMeetupNonMember.pdf
  131        Exhibit115-BrandishingNews.pdf         Dkt No. 614    802; 805; 901
  132        Exhibit116-WalmartAntifa.mp3           Dkt No. 614    402; 802; 805; 901;
  133        Exhibit117-WalmartCops.mp3             Dkt No. 614    402; 403; 802; 805
  134        Exhibit118-Gorcenski302.pdf            Dkt No. 614    402; 403; 802; 805;
                                                                   901
  135        Exhibit119-GorcenskiMPAffidavit.pdf Dkt No. 614       402; 403; 802; 805;
                                                                   901
  136        Exhibit120-RA342.mp3                   Dkt No. 614    802; 805
  137        Exhibit121-GorcenskiLS1.mp4            Dkt No. 614    402; 403; 802; 805;
                                                                   901
  138        Exhibit122-GorcenskiLS2.mp4            Dkt No. 614    402
  139        Exhibit123-GorcenskiLS3.mp4            Dkt No. 614    602; 802; 805; 901
  140        Exhibit124-GorcenskiLS4.mp4            Dkt No. 614    602; 802; 805; 901
  141        Exhibit125-MoersTakesCamera.mp4        Dkt No. 614    802; 805; 901
  142        Exhibit126-CantwellArrives.mp4         Dkt No. 614    802; 805; 901
  144        Exhibit128-GorcenskiUnafraid.mp4       Dkt No. 614    802; 805; 901
  145        Exhibit129-GorcenskiRecon.mp4          Dkt No. 614    602; 802; 805; 901
  146        Exhibit130-Showtime.mp4                Dkt No. 614    901
  148        Exhibit139-AfterShow.mp4               Dkt No. 614    802; 805; 901


  II.       OBJECTIONS TO DEFENDANTS DAMIGO, KESSLER, AND IDENTITY
            EUROPA’S EXHIBIT LIST

                                                        BATES OR
      No.               DESCRIPTION                      DOCKET       OBJECTION
                                                        NUMBER
              PDF-Socialist Rifle Association Put
  A                                                 N/A            402; 403; 802; 901
              Blood in their Mouths
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                                                                                               NP 3; 402; 403;     802;
     B            PDF-Antifa strikes back on 8/12                  N/A
                                                                                                   2F




                                                                                               901
                                                                   N/A                         NP; 402; 403;       802;
     C            PDF-Social Media Threat
                                                                                               901
                                                                   N/A                         NP; 402; 403;       802;
     D            PDF-Search Warrant Affidavit-Moers
                                                                                               901
                  PDF-Search Warrant Affidavit-Myles N/A                                       NP; 402; 403;       802;
     E
                  et al                                                                        901
                  PDF-Second Search Warrant          N/A                                       NP; 402; 403;       802;
     F
                  Affidavit-Myles et al.                                                       901
                                                     N/A                                       NP; 402; 403;       802;
     G            PDF-Social Media Threat
                                                                                               901
                  PDF-Social Media Threat                          N/A                         NP; 402; 403;       802;
     H
                                                                                               901
                  PDF-Berkeley Riot                                N/A                         NP; 402; 403;       802;
     I
                                                                                               901
                  PDF-Campus Speech Riot                           N/A                         NP; 402; 403;       802;
     J
                                                                                               901
                  PDF-Trump Inauguration Riot                      N/A                         NP; 402; 403;       802;
     K
                                                                                               901
                                                                   N/A                         NP; 402; 403;       802;
     L            PDF-Armed Counterprotester on 8/12
                                                                                               901
                                                                   N/A                         NP; 106; 402;       403;
     M            PDF-Brent Betterley on 8/12
                                                                                               901
                  PDF-Second Picture Betterley on                  N/A
     N                                                                                         NP; 402; 403; 901
                  8/12
                  PDF-Counterprotester with weapon                 N/A                         NP; 402; 403; 802;
     Q
                  on 8/12                                                                      901
                  PDF-Counterprotester with weapon                 N/A
     R                                                                                         NP; 402; 403; 901
                  on 8/12
                  PDF-Counterprotester with gun on                 N/A
     S                                                                                         NP; 402; 403; 901
                  8/12
                                                                   N/A                         NP;      402; 403; 802;
     T            PDF-Social Media Threat
                                                                                               901
                                                                   N/A                         NP;      402; 403; 802;
     U            PDF-Social Media Threat
                                                                                               901
                                                                   N/A                         NP;      402; 403; 802;
     V            PDF-Social Media Threat
                                                                                               901
                                                                   N/A                         NP;      402; 403; 802;
     W            PDF-Social Media Threat
                                                                                               901
                                                                   N/A                         NP;      402; 403; 802;
     X            PDF-Social Media Threat
                                                                                               901


 3
         NP means not produced. Plaintiffs object to all documents Defendants seek to use as exhibits at trial that have
         not been produced to Plaintiffs in violation of Fed. R. Civ. P. 26.
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                                            N/A           NP; 402; 403; 802;
  Y      PDF-Social Media Threat
                                                          901
                                            N/A           NP; 402; 403; 802;
  Z      PDF-Social Media Threat
                                                          901
                                            N/A           NP; 402; 403; 802;
  AA     PDF-Federal Agency Document
                                                          901
                                            N/A           NP; 402; 403; 802;
  BB     PDF-Federal Agency Document
                                                          901
                                            N/A           NP; 402; 403; 802;
  CC     PDF-Federal Agency Document
                                                          901
                                            N/A           NP; 402; 403; 802;
  DD     PDF-Kessler public communication
                                                          901
                                            N/A           NP; 402; 403; 802;
  EE     PDF-Damigo public communication
                                                          901
         PDF-Antifascist public             N/A           NP; 106; 402; 403;
  FF
         communication                                    802; 901
         PDF-Antifascist public             N/A           NP; 402; 403; 802;
  GG
         communication                                    805; 901
         PDF-Antifascist public             N/A           NP; 402; 403; 802;
  HH
         communication                                    901
         PDF-Antifascist public             N/A           NP; 402; 403; 802;
  II
         communication                                    901
  JJ     PDF-Picture of Damigo              N/A           NP; 402; 403; 901
                                            N/A           NP; 402; 403; 802;
  KK     PDF-media publication
                                                          901
                                            N/A           NP; 402; 403; 802;
  LL     PDF-media publication
                                                          901
                                            N/A           NP; 402; 403; 802;
  MM     Video-media footage Aug 11/Aug12
                                                          901
                                            N/A           NP; 402; 403; 802;
  NN     PDF-media publication
                                                          901
         Video-Richard Spencer              N/A           NP; 402; 403; 802;
  OO
                                                          901
                                            N/A           NP; 402; 403; 802;
  PP     PDF-Social Media Threat
                                                          901
                                            N/A           NP; 402; 403; 802;
  QQ     PDF-Social Media Threat
                                                          901
                                            N/A           NP; 402; 403; 802;
  RR     PDF-Reporter Social Media
                                                          901
         PDF-Antifascist Public             N/A           NP; 402; 403; 802;
  SS
         Communication                                    901
         PDF-Antifascist Public             N/A           NP; 402; 403; 802;
  TT
         Communication                                    901
                                            N/A           NP; 402; 403; 802;
  UU     PDF-Media Report
                                                          901
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                                                 N/A      NP; 402;   403; 802;
  VV     PDF-Media Report
                                                          901
                                                 N/A      NP; 402;   403; 802;
  WW     Video-Assault on August 12
                                                          901
                                                 N/A      NP; 402;   403; 802;
  XX     Audio-Aug 12 rally planning
                                                          901
                                                 N/A      NP; 402;   403; 802;
  ZZ     PDF-Social Media Threat
                                                          901
                                                 N/A      NP; 402;   403; 802;
  AAA    PDF-Social Media Threat
                                                          901
                                                 N/A      NP; 402;   403; 802;
  BBB    PDF-Social Media Threat
                                                          901
                                                 N/A      NP; 402;   403; 802;
  CCC    PDF-Antifascist Social Media Post
                                                          901
                                                 N/A      NP; 106;   402; 403;
  DDD    PDF-Antifascist Social Media Post
                                                          802; 901
         Video-Antifascist statement to public   N/A
  EEE                                                     NP; 402; 403; 802
         commission
  FFF    PDF-Social Media Threat                 N/A      403; 403; 802; 901
                                                 N/A      NP; 402; 403; 802;
  GGG    PDF-Social Media Threat
                                                          901
                                                 N/A      NP; 402; 403; 802;
  HHH    PDF-Social Media Threat
                                                          901
  III    Video-Congregate C'ville                N/A      NP; 802; 901
         PDF-Congregate C'ville                  N/A      NP; 106; 402; 403;
  JJJ
                                                          802; 901
         PDF-Antifascist public                  N/A      NP; 106; 402; 403;
  KKK
         communication                                    802; 901
         PDF-Antifascist public                  N/A      NP; 402; 403; 802;
  LLL
         communication                                    901
         PDF-Antifascist public                  N/A
  MMM                                                     402; 403; 802; 901
         communication
                                                 N/A      NP; 402;   403; 802;
  NNN    Video-August 12 Assault
                                                          901
         PDF-Antifascist public                  N/A      NP; 402;   403; 802;
  OOO
         communication                                    901
         PDF-Antifascist public                  N/A      NP; 402;   403; 802;
  PPP
         communication                                    805; 901
         PDF-Antifascist public                  N/A      NP; 402;   403; 802;
  QQQ
         communication                                    901
         PDF-Antifascist public                  N/A
  RRR                                                     402; 403; 802; 805
         communication
                                                 N/A      NP; 402; 403; 802;
  SSS    PDF-Social Media Threat
                                                          901
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                 PDF-Picture Antifascists on August                  N/A                           NP; 402; 403; 802;
     TTT
                 12                                                                                901
                 PDF-Picture Antifascists on August                  N/A                           NP; 402; 403; 802;
     UUU
                 12                                                                                901
                                                                     N/A                           NP; 402; 403; 802;
     VVV         Video-Antifascists firearms training
                                                                                                   901
                                                                     N/A                           NP; 402; 403; 802;
     WWW         Video-Plaintiff Wispelwey
                                                                                                   901
     XXX         PDF-Social Media Threat                             N/A                           402; 403; 802; 901
                 PDF-anti White violence pre August                  N/A                           NP; 402; 403; 802;
     YYY
                 12                                                                                901
                 Video-anti White violence pre                       N/A
     ZZZ                                                                                           NP; 402; 403; 901
                 August 12
     AAAA        PDF-Social Media Threat                             N/A                           402; 403; 802; 901
                                                                     N/A                           NP; 402; 403; 802;
     BBBB        PDF-Social Media Threat
                                                                                                   901
     CCCC        PDF-Antifascist public statement                    N/A                           402; 403; 802; 901
                 Video-Eyewitness account August 12                  N/A                           NP; 402; 403; 701;
     DDDD
                 (Lindbeck)                                                                        802; 901
     EEEE        Discord (numerous)                                  N/A                           402; 403; 802
                 Electronically Stored Information                   N/A
     FFFF                                                                                          NP; 403; 802; 901
                 (numerous)
     GGGG        Facebook Chat planning for Aug 12                   N/A                           NP; 802; 901
                                                                     N/A                           402; 403; 701;        802;
     HHHH        Heaphy Report
                                                                                                   805; 901
     IIII        Social Media Chat                                   N/A                           802; 901
                                                                     N/A                           NP; 402; 403;         404;
     JJJJ        Criminal docket Massey
                                                                                                   802; 901
                                                                     N/A                           NP; 402; 403;         404;
     KKKK        Criminal docket Keenan
                                                                                                   802; 901
                                                                     N/A                           NP; 402; 403;         404;
     LLLL        Criminal docket Minton
                                                                                                   802; 901
     MMM                                                             N/A                           NP; 402; 403;         404;
                 Indictment Betterley
     M                                                                                             802; 901
                                                                     N/A                           NP; 402; 403;         802;
     NNNN        Conviction Betterley
                                                                                                   901
     OOOO        Audio Oyola                                         N/A                           NP; 802; 901
     PPPP        Video Sines August 11                               N/A                           802
     QQQQ        Drone Footage                                       N/A                           NP 43F




     RRRR        Video Aug 11 torch march                            N/A                           NP


 4
        Defendants have informed us that they are having technical issues with transmitting exhibits QQQQ and RRRR
        to Plaintiffs, and as a result, Plaintiffs have not been able to review these files. Plaintiffs reserve the right to add
        further objections once they have received the files and have had the opportunity to review.
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 III.       OBJECTIONS TO DEFENDANT FIELDS’ EXHIBIT LIST

                                                           BATES OR
      No.               DESCRIPTION                         DOCKET          OBJECTION
                                                            NUMBER
  1           Certified Copy of James Alex Fields’      N/A              402; 403; 602; 803;
              Federal Sentencing Report                                  805; FRCP 26.


 IV.        OBJECTIONS TO DEFENDANTS HILL, TUBBS, AND LEAGUE OF THE
            SOUTH’S EXHIBIT LIST


                                                            BATES OR
      No.              DESCRIPTION                           DOCKET         OBJECTION
                                                            NUMBER
  2           Michael Hill Deposition Transcript        Dkt No. 823-03   FRCP 34; 802; 805
  17          Michael Tubbs Deposition Transcript       Dkt No. 823-17   FRCP 34; 802; 805
  22          Robert Ike Baker Deposition               Dkt No. 823-19   FRCP 34; 802; 805
              Transcript
  23          Bradley Griffin Deposition Transcript     Dkt No. 823-20   FRCP 34; 802; 805
  27          “League of the South in Pikeville,        Dkt No. 823-24   NP; 402; 403
              Kentucky”—website posting;
              https://leagueofthesouth.com/league-
              of-the-south-in-pikeville-kentucky/
  29          “Hardly peaceful, but no violence as      Dkt No. 823-26   NP; 402; 403; 802;
              white nationalists, protesters yell in                     901
              Pikeville”—
              Lexington Herald Leader;
              https://www.kentucky.com/news/stat
              e/article147594424.html
              (article and video)
  31          “Jihad in Tennessee”—website              Dkt No. 823-27   NP; 402; 403; 802
              posting;
              https://leagueofthesouth.com/jihad-
              in-tennessee/
  32          NCRIC Advisory Bulletin;                  Dkt No. 823-28   NP; 402; 403; 802
              https://nationaljustice.com/sites/defau
              lt/files/2020/07/10/berkely.pdf
  33          Congressional Research Service—           Dkt No. 823-29   NP; 402, 403, 802
              Antifa Article;
              https://crsreports.congress.gov/produ
              ct/pdf/IF/IF10839/2
  39          “The League and the Unite the Right       Dkt No. 823-30   NP; 802
              rally”—website posting;
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          https://leagueofthesouth.com/the-
          league-and-the-unite-the-right-rally/
  34      “League of the South statement on        Dkt No. 823-31    NP; 403; 802
          Charlottesville”—website posting;
          https://leagueofthesouth.com/league-
          of-the-south-statement-on-
          charlottesville/
  38      Charlottesville Police Department –      Dkt No. 823-34;   802; 805; 901
          internal memo - City000000941 - 943      City_00000941
  40      Charlottesville Police Department –      Dkt No. 823-36;   106; 403; 701; 802;
          internal memo - City000000340            City_00000340     805; 901
  41      Charlottesville Police Department –      Dkt No. 823-37;   106; 403; 701; 802;
          internal memo - City000000341            City_00000340     805; 901
  42      Charlottesville Police Department –      Dkt No. 823-38;   106; 403; 701; 802;
          internal memo - City000000342            City_00000340     805, 901
  43      Charlottesville Police Department –      Dkt No. 823-39;   403; 802; 805; 901
          internal memo - City000000449            City_00000446
  44      Charlottesville Police Department –      Dkt No. 823-40;   802; 805; 901
          internal memo - City000000446            City_00000446
  45      Charlottesville Police Department –      Dkt No. 823-41;   802; 805; 901
          internal memo - City000000850            City_00000850
  46      Charlottesville Police Department –      Dkt No. 823-42;   802; 805; 901
          internal memo - City000000851            City_00000850
  47      Charlottesville Police Department –      Dkt No. 823-43;   802; 805; 901
          internal memo - City000000852            City_00000850
  48      Charlottesville Police Department –      Dkt No. 823-44;   802; 805; 901
          internal memo - City000000941            City_00000941
  49      Charlottesville Police Department –      Dkt No. 823-45;   802; 805; 901
          internal memo - City_00001477            City_00001477
  50      Charlottesville Police Department –      Dkt No. 823-46;   106; 802; 805; 901
          internal memo - City_00001478            City_00001477
  52      Charlottesville Police Department –      Dkt No. 823-47;   802; 901
          internal memo - City000000323            City_00000323
  53      Charlottesville Police Department –      Dkt No. 823-48;   802; 805; 901
          internal memo - City000000150            City_00000150
  55      Image of Antifa blockage                 Dkt No. 823-49    NP; 402; 403
  56      https://www.youtube.com/watch?v=0        N/A               NP; 403; 802
          s8R_cGgvFY
  57      https://archive.org/details/archivetea   N/A               NP; 403, 802
          m_videobot_twitter_com_896384861
          187051520/128
          0x720.ts
  58      Journalist     video     of     Rally—   N/A               402; 403; 802; 901
          NOCUSTODIAN00044709
  59      Image of Counter protester sign          Dkt No. 823-50    NP; 402; 403; 802
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  60      Image of Counter protester sign          Dkt No. 823-51   NP; 402; 403; 802;
  61      https://ia800805.us.archive.org/26/ite   N/A              NP; 402; 403; 802;
          ms/periscope-                                             805
          1zqKVRpXbkPKB/BuzzFeed_News
          _-_The_KKK_neo-
          Nazis_and_other_hate_groups_are_in
          _Charlottesville_for_the_Unite_the_
          Right_rally.-1zqKVRpXbkPKB.ogv
          at 0:59-2:33, 0:49-1:09, 3:10-3:30,
          3:32-3:52, 4:28-4:41
  62      https://www.youtube.com/watch?v=1        N/A              NP; 402; 403; 802;
          FBsxSVC3-A                                                805
  63      Charlottesville Police Department –      Dkt No. 823-52   802; 805; 901
          internal memo - City000000107
  64      https://www.youtube.com/watch?app        N/A              NP; 402; 403; 802;
          =desktop&v=qg8TRc8O7dM&featur                             805
          e=youtu.be
  65      https://www.youtube.com/watch?v=         N/A              NP; 402; 403; 802
          OcPiHEZqVxQ
  66      Charlottesville Police Department –      Dkt No. 823-53   802; 805; 901
          internal memo - City000000108
  67      Charlottesville Police Department -      Dkt No. 823-54   802; 805; 901
          internal memo - City000000323
  69      Image of rally goer injury               Dkt No. 823-55   NP; 402; 403
  70      Tallahassee Democrat news article;       Dkt No. 823-56   NP; 402, 403; 802
          https://www.tallahassee.com/story/ne
          ws/2018/01/27/heavy-law-
          enforcement-presencekeeps-
          league-south-rally-peaceful-white-
          supremacists/1072048001/
  71      “A Statement on legal matter             Dkt No. 823-57   402; 403; 802
          regarding League events in Middle
          Tennessee”—website
          posting;
          https://leagueofthesouth.com/a-
          statement-on-legal-matters-regarding-
          leagueevents-
          in-middle-tennessee-28-october-
          2017/
  72      “The League and the National Front       Dkt No. 823-58   NP; 402; 403; 802
          at Shelbyville”—website posting;
          https://leagueofthesouth.com/the-
          league-and-nationalist-front-at-
          shelbyville-28-october/
  74      “The League in Knoxville but no          Dkt No. 823-59   NP; 402; 403; 802
          Antifa”—website posting;
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                    https://leagueofthesouth.com/the-
                    league-in-knoxville-but-no-antifa/
     75             Heaphy Report                                  N/A                         403; 701; 802; 805;
                                                                                               901
     76             https://www.youtube.com/watch?v=_              N/A                         402; 403; 802
                    TWCEV5U09c&feature=youtu.be
     77             Image of rally goer injury                     Dkt No. 823-60              NP; 402; 403
     78             Declaration of Michael Hill                    Dkt No. 823-61              802
     79             Declaration of Michael Tubbs                   Dkt No. 823-62              802
     80             Declaration of Robert Baker                    Dkt No. 823-63              802
     81             Plaintiff Wispelwey Deposition                 Dkt No. 823-64              FRCP 32, 802, 805
                    Transcript


     V.           OBJECTIONS TO DEFENDANT SCHOEP and NSM’S EXHIBIT LIST

         No.                   DESCRIPTION                            BATES OR                     OBJECTION
                                                                       DOCKET
                                                                       NUMBER
     1              FINAL REPORT: Independent                      N/A                         402; 403; 701; 802;
                    Review of the 2017 Protest Events in                                       805; 901
                    Charlottesville, Virginia, (“Heaphy
                    Report”) by Timothy Heaphy,
                    Hunton & Williams LLP



 VI.              OBJECTIONS TO DEFENDANT SPENCER’S EXHIBIT LIST

         No. 5
             4F                DESCRIPTION                   BATES OR                             OBJECTION
                                                              DOCKET
                                                              NUMBER
     1             Spencer’s First Set of Interrogatories Dkt No. 895-1                       802; 805
     3             First Deposition of Jason Kessler, Dkt No. 895-1                           802; 805
                   Abridged
     4             Second Deposition of Jason Kessler, Dkt No. 895-1                          802; 805
                   Abridged
     6             Unicorn Riot, “Discord Leaks,” search Dkt No. 895-1                        802; 805; 901
                   query for “Spencer” and Spencer handle
                   in Unicorn Riot’s archive
     7             @richardbspencer, Twitter.com, 12:38 Dkt No. 895-1                         802; 805; 901
                   PM, August 12, 2017


 5
          Defendant Spencer’s exhibit list was not numbered. For clarity, Plaintiffs’ have added numbering to the exhibits
          based on the order in which they appear in Spencer’s Motion for Summary Judgment.
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  8       Richard Spencer, “Facing the Future as Dkt No. 895-1        402; 802; 805
          a Minority,” The American Renaissance
          Conference, April 5-7, 2013, Nashville,
          Tennessee; published as “Facing The
          Future as a Minority,” Radix Journal,
          September 28, 2016 [2013]



 Date: September 28, 2021




                                                 Respectfully submitted,



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                                  18301



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Case 3:17-cv-00072-NKM-JCH Document 1118 Filed 09/28/21 Page 17 of 19 Pageid#:
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Case 3:17-cv-00072-NKM-JCH Document 1118 Filed 09/28/21 Page 18 of 19 Pageid#:
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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 28, 2021, I filed the foregoing with the Clerk of Court
 through the CM/Dkt No. system, which will send a notice of electronic filing to:

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Case 3:17-cv-00072-NKM-JCH Document 1118 Filed 09/28/21 Page 19 of 19 Pageid#:
                                  18304



         I hereby certify that on September 28, 2021, I also served the following non-Dkt No.
 participants via mail and electronic mail:

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